               Case 2:20-cv-00738-TSZ Document 12 Filed 06/04/20 Page 1 of 3



 1                                                                      The Honorable Thomas S. Zilly
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12                            UNITED STATES DISTRICT COURT
13                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                         NO. 2:20-cv-00738-TSZ
17                       Plaintiff,
18                                                         PLAINTIFF’S MOTION FOR LEAVE
19           v.                                            TO FILE OVERSIZED BRIEF
20
21   DOES 1-20, d/b/a, ANXCHIP.COM,                        NOTED: June 4, 2020
22   AXIOGAME.COM, FLASHCARDA.COM,
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
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27                       Defendants.
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32          Plaintiff Nintendo of America Inc. respectfully requests leave to file a 16-page brief in
33   support of its Motion for Leave to Serve Process by Alternative Means (“Alternative Service
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35   Motion”). Good cause exists to allow the oversize filing.
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37          The Alternative Service Motion seeks leave to serve a number of foreign Doe
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39   Defendants—collectively operating eight separate websites—by email, as none of the
40   Defendants has revealed their identities nor have they maintained a physical presence where
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42   personal service can be made. To justify the relief sought, Plaintiff has established a factual and
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44   legal basis for alternative service as to the Defendants operating each of the eight Websites.
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     PLAINTIFF’S MOTION TO FILE OVERSIZE BRIEF - 1                   G O R DO N     600 University Street
     No. 2:20-cv-00738                                                 T IL DE N    Suite 2915
                                                                      THOMAS        Seattle, WA 98101
                                                                     C O R DE L L   206.467.6477
               Case 2:20-cv-00738-TSZ Document 12 Filed 06/04/20 Page 2 of 3



 1   Further, to establish these factual predicates, Plaintiff has described in detail the efforts it has
 2
 3   expended in an attempt to determine the identities and locations of Defendants. Plaintiff also
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     sets forth the specific efforts that Defendants have made to maintain anonymous presences
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 6   strictly online (rather than physical presences) and to evade detection and enforcement—
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 8   including after the filing of this Complaint—thus making it impossible to perfect service other
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10   than by electronic means. Finally, Plaintiff has set forth in detail the various ways that certain
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     Defendants have already taken actions after the filing of this lawsuit demonstrating their
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13   awareness of the lawsuit. For these reasons, Plaintiff respectfully requests leave to file an
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15   oversized brief.
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     PLAINTIFF’S MOTION TO FILE OVERSIZE BRIEF - 2                      G O R DO N     600 University Street
     No. 2:20-cv-00738                                                    T IL DE N    Suite 2915
                                                                         THOMAS        Seattle, WA 98101
                                                                        C O R DE L L   206.467.6477
               Case 2:20-cv-00738-TSZ Document 12 Filed 06/04/20 Page 3 of 3



 1   Respectfully submitted:                     Respectfully submitted:
 2
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 4   CORDELL LLP
 5
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 8   Michael Rosenberger, WSBA 1730              Cayman C. Mitchell (Pro Hac Vice)*
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27                                               *Admitted only in Massachusetts, not admitted in
28                                               New York. Practicing under the supervision of
29                                               the partnership of Jenner & Block LLP
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     PLAINTIFF’S MOTION TO FILE OVERSIZE BRIEF - 3            G O R DO N     600 University Street
     No. 2:20-cv-00738                                          T IL DE N    Suite 2915
                                                               THOMAS        Seattle, WA 98101
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